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                                IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF DELAWARE

             CHRISTINE DUFFIN, ALANA DUDLEY,
             APRIL MACLEISH and KAREN MORROW,
                                                             )
                                        Plaintiffs,          )
                                                             )
                   v.                                        )
                                                             )     C.A. No. 20-01724-RGA
             TRI-GRAM EDUCATION PARTNERS LLC,                )
             D.B.A. HARRIS SCHOOL OF BUSINESS,               )
             BERNADETTE REED, and STANFORD                   )
             SILVERMAN,                                      )

                                        Defendants.


                                  STIPULATION AND [PROPOSED] ORDER
                             OF DISMISSAL OF DEFENDANT BERNADETTE REED


                        WHEREAS, on December 18, 2020, Plaintiffs filed suit against Defendants Tri-

         Gram Education Partners LLC, d.b.a Harris School of Business, Bernadette Reed, and Stanford

         Silverman. (D.I. 1.)

                        WHEREAS, counsel for Plaintiffs and Defendant Bernadette Reed have conferred

         and believe that dismissal of Defendant Reed is both appropriate and furthers the interests of

         judicial efficiency;

                        NOW THEREFORE, it is hereby stipulated and agreed, by and through the

         undersigned counsel, and subject to approval of the Court, that:

                        1.      Pursuant to Federal Rule of Civil Procedure 41, Defendant Bernadette

         Reed shall be dismissed without prejudice; and

                        2.      Each party shall bear their own costs and fees for resolution of these

         claims.


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             THE POLIQUIN FIRM, LLC                        YOUNG CONAWAY STARGATT &
                                                           TAYLOR, LLP

             /s/ Ronald G. Poliquin                        /s/ Lauren E.M. Russell
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                                                           Attorneys for Defendant Bernadette Reed

         Dated: April 1, 2021

                           IT IS SO ORDERED this ____ day of _________________, 2021.



                                                    ________________________________
                                                    UNITED STATES DISTRICT JUDGE




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